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  8                    UNITED STATES DISTRICT COURT
  9                   CENTRAL DISTRICT OF CALIFORNIA
  10
  11 JORGE ALEJANDRO ROJAS,               Case No. 2:22−cv−04100−FLA−PVC
  12                      Plaintiff(s),

                 v.                       INITIAL STANDING ORDER
  13
  14 OWNER OF TELEPHONE NUMBER
     310−955−5813
  15
                         Defendant(s).
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  1             PLEASE READ THIS ORDER CAREFULLY. IT GOVERNS THIS

  2     ACTION AND DIFFERS IN SOME RESPECTS FROM THE LOCAL

  3     RULES.

  4             COUNSEL FOR PLAINTIFF(S) SHALL SERVE THIS ORDER

  5     IMMEDIATELY ON ALL PARTIES AND/OR THEIR ATTORNEY(S),

  6     INCLUDING ANY NEW PARTIES TO THE ACTION. IF THIS ACTION HAS

  7     BEEN REMOVED FROM THE STATE COURT, THE DEFENDANT WHO

  8     REMOVED THE ACTION SHALL SERVE THIS ORDER ON ALL OTHER

  9     PARTIES.

  10            This action has been assigned to the calendar of United States District Judge

  11    Fernando L. Aenlle-Rocha. Both the court and counsel bear responsibility for the

  12    progress of this action. To “secure the just, speedy, and inexpensive determination”

  13    of the action, as called for in Fed. R. Civ. P. 1, all parties or their counsel, including

  14    pro se litigants,1 are ordered to be familiar with the Federal Rules of Civil

  15    Procedure, the Local Rules of the Central District of California (“Local Rules”),

  16    and this court’s standing orders and online procedures and schedules.

  17            Unless the court orders otherwise, the following rules shall apply.

  18            1.   SERVICE OF THE COMPLAINT

  19            Plaintiff shall promptly serve the complaint in accordance with Fed. R. Civ.

  20    P. 4 and file the proofs of service pursuant to Local Rule 5-3.1. Any defendant not

  21    timely served under Fed. R. Civ. P. 4(m), including “Doe” or fictitiously named

  22    defendants, shall be dismissed from the action without prejudice.

  23            2.   REMOVED ACTIONS

  24            All documents filed in state court, including documents appended to the

  25    complaint, answers, and motions, must be re-filed in this court as a supplement to

  26    ____________________

  27
        1Parties appearing pro se must comply with the Federal Rules of Civil Procedure
  28    and the Local Rules. See Local Rules 1-3 and 83-2.2.3.


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  1     the notice of removal. See 28 U.S.C. § 1447(a) and (b). Any pending motions must

  2     be re-noticed in accordance with Local Rule 7. Counsel shall file with his or her

  3     first appearance a Notice of Interested Parties in accordance with Local Rule 7.1-1.

  4             If an action removed to this court contains a state court Judicial Council Form

  5     pleading, i.e., a pleading in which boxes are checked, the party that filed the form

  6     pleading must file in this court within thirty (30) days of receipt of the Notice of

  7     Removal a revised pleading that complies with Fed. R. Civ. P. 7, 7.1, 8, 9, 10 and

  8     11.

  9             3.   ASSIGNMENT TO A UNITED STATES MAGISTRATE JUDGE

  10            Under 28 U.S.C. § 636, the parties may consent to have a Magistrate Judge

  11    preside over all proceedings, including trial. The Magistrate Judges who accept

  12    those designations are identified on the Central District Court’s website, which also

  13    contains the consent form.

  14            4.   CALENDAR CONFLICTS

  15            If any counsel discovers a calendar conflict with a scheduled appearance in a

  16    court of a more senior district judge, counsel must inform opposing counsel and

  17    the Courtroom Deputy Clerk via chambers email address at

  18    twyla_freeman@cacd.uscourts.gov as soon as possible and not later than three (3)

  19    business days before the scheduled appearance. Counsel should attempt to agree on

  20    a new date to accommodate the calendar conflict. Counsel must propose a new date

  21    by Stipulation and [Proposed] Order.

  22            5.   DISCOVERY

  23                 a.   Discovery Matters Referred to United States Magistrate

  24                      Judge

  25            All discovery matters are hereby referred to the assigned Magistrate Judge,

  26    who will hear all discovery disputes. The Magistrate Judge’s initials follow the

  27    district judge’s initials next to the action number. All discovery-related documents

  28    must include the words “DISCOVERY MATTER” in the caption to ensure proper


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  1     routing. Counsel are directed to contact the Magistrate Judge’s Courtroom Deputy

  2     Clerk to schedule matters for hearing and must follow the Magistrate Judge’s

  3     procedures for scheduling matters for hearing. These procedures are stated on each

  4     Magistrate Judge’s webpage. The parties are ordered to comply with Local Rule 37

  5     and deliver mandatory chambers copies of discovery-related papers to the

  6     Magistrate Judge assigned to this action.

  7             In accordance with 28 U.S.C. § 636(b)(1)(A), the Magistrate Judge’s decision

  8     shall be final, and this court will not reverse any order of the Magistrate Judge

  9     unless it has been shown that the Magistrate Judge’s order is clearly erroneous

  10    or contrary to law. Any party may file and serve a motion for review and

  11    reconsideration before this court. See Local Rule 72-2. The moving party must

  12    file and serve the motion within fourteen (14) days of service of a written ruling

  13    or within fourteen (14) days of an oral ruling the Magistrate Judge states will not be

  14    followed by a written ruling. The motion must specify which portions of the ruling

  15    are clearly erroneous or contrary to law and support the contention with points

  16    and authorities. Counsel shall deliver a conformed copy of the moving papers and

  17    responses to the Magistrate Judge’s Courtroom Deputy Clerk at the time of filing.

  18                 b.   Compliance with Fed. R. Civ. P. 26(a)

  19            Unless there is a likelihood that, upon motion by a party, the court would

  20    order that discovery be stayed, the parties should begin to propound discovery

  21    before the Scheduling Conference. The parties must comply fully with the letter

  22    and spirit of Fed. R. Civ. P. 26(a) and produce discovery promptly. At the

  23    Scheduling Conference, the court will impose firm deadlines governing the

  24    completion of discovery.

  25            6.   MOTIONS - GENERAL REQUIREMENTS

  26                 a.   Time for Filing and Hearing Motions

  27            Motions shall be filed in accordance with Local Rules 6 and 7. The court

  28    hears motions in civil actions on Fridays, beginning at 1:30 p.m. It is not necessary


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  1     to clear a hearing date with the Courtroom Deputy Clerk before filing a motion,

  2     except for motions for summary judgment and preliminary injunction. The parties

  3     must adhere to the briefing schedule set forth in Local Rules 7-9 and 7-10, and the

  4     schedule herein for Fed. R. Civ. P. 56 motions, to afford the court adequate time

  5     to prepare for the hearing. If the motion hearing date selected is not available, the

  6     court will issue an order continuing the hearing. Professional courtesy dictates,

  7     and the court fully expects, the parties will accommodate each other’s schedules,

  8     including vacations and holidays, whenever possible. The parties should not

  9     calendar a matter on a Friday that is a court holiday. If this occurs, the court will

  10    re-calendar the matter for another Friday.

  11                 b.   Pre-Filing Requirement to Meet and Confer

  12            Counsel must comply with Local Rule 7-3, which requires counsel to engage

  13    in a pre-filing conference “to discuss thoroughly . . . the substance of the

  14    contemplated motion and any potential resolution.” Counsel shall discuss the issues

  15    to a sufficient degree that if a motion is still necessary, the briefing may be directed

  16    to those substantive issues requiring resolution by the court. Counsel shall resolve

  17    minor procedural or other non-substantive matters during the conference. The pro

  18    se status of one or more parties does not negate this requirement. The Notice of

  19    Motion must include a statement of compliance with Local Rule 7-3. The

  20    court may strike or deny a motion if counsel fail to meet and confer in good faith.

  21                 c.   Length and Format of Motion Papers

  22            Memoranda of points and authorities shall not exceed twenty-five (25) pages.

  23    See Local Rule 11-6. Replies shall not exceed fifteen (15) pages. Only in rare

  24    instances and for good cause shown will the court grant an application to extend

  25    these page limitations. No supplemental brief shall be filed without prior leave of

  26    court.

  27            Pursuant to Local Rule 11-3.1.1, either a proportionally spaced or

  28    monospaced face may be used. Typeface shall comply with Local Rule 11-3.1.1.


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  1     Times New Roman font must be no less than fourteen (14) point, and Courier font

  2     must be no less than twelve (12) point. Footnotes shall be in the same font and the

  3     same size as the body of the memorandum.

  4             Counsel shall adhere to Local Rule 5-4.3 with respect to the conversion of all

  5     documents to .pdf so that when a document is e-filed, it is in the proper size and

  6     is .pdf searchable. Further, all documents shall be filed in a format so that text can

  7     be selected, copied, and pasted directly from the document. See Local Rule 5-4.3.1

  8                  d.   Citations to Case Law

  9             Citations to case law must identify not only the case cited, but the specific

  10    page referenced. For example, if a quotation is presented, the associated page

  11    citation shall be provided. Similarly, if a case is cited in support of a proposition

  12    based on language in the opinion, the page on which such language appears shall be

  13    provided. Bluebook style is required.

  14                 e.   Citations to Other Sources

  15            Statutory references must identify with specificity the sections and

  16    subsections referenced. Citations to treatises, manuals, and other materials should

  17    include the volume, section, and pages being referenced. Citations to prior filings

  18    in the same action shall include the docket entry number, section, and pages

  19    referenced. Bluebook style is required.

  20                 f.   Oral Argument

  21            If the court deems a matter appropriate for decision without oral argument,

  22    the court will take the matter under submission and notify the parties before the

  23    hearing.

  24            The parties' lead counsel are encouraged to permit junior lawyers to fully

  25    participate in court proceedings, including to argue motions and to examine

  26    witnesses at trial. The Court is more likely to hear oral arguments if a party notes

  27    ///

  28    ///


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  1     in its moving or opposing papers, in bold and underlined font, that an attorney

  2     who graduated from law school within the last five (5) years will conduct

  3     the argument.

  4             7.   SPECIFIC MOTION REQUIREMENTS

  5                  a.   Motions Pursuant to Fed. R. Civ. P. 12

  6             Many motions to dismiss or strike can be avoided if the parties confer in good

  7     faith as required by Local Rule 7-3, especially for perceived defects in a complaint,

  8     answer, or counterclaim that can be corrected by amendment. See Chang v. Chen,

  9     80 F.3d 1293, 1296 (9th Cir. 1996) (where a motion to dismiss is granted, a district

  10    court should grant leave to amend unless it is clear the complaint cannot be saved

  11    by amendment). Moreover, a party has the right to amend the complaint “once as

  12    a matter of course at any time before a responsive pleading is served.” Fed. R. Civ.

  13    P. 15(a). Even after a complaint has been amended or a responsive pleading has

  14    been served, the Federal Rules of Civil Procedure provide that leave to amend

  15    should be “freely given when justice so requires.” Fed. R. Civ. P. 15(a). Indeed,

  16    the Ninth Circuit requires that this policy favoring amendment be applied with

  17    “extreme liberality.” Morongo Band of Mission Indians v. Rose, 893 F.2d 1074,

  18    1079 (9th Cir. 1990).

  19            Consequently, parties should carefully consider and weigh an opponent’s

  20    contentions as to the deficiencies in a pleading. In most instances, the parties

  21    should agree to any amendment that would cure the defect.

  22                 b.   Motions to Amend

  23            In addition to the requirements of Local Rule 15-1, all motions to amend

  24    pleadings shall: (1) state the effect of the amendment; (2) be serially numbered to

  25    differentiate the amendment from previous amendments; and (3) identify the pages

  26    and line numbers, and wording of any proposed change or addition of material.

  27    The proposed amended pleading must be serially numbered to differentiate it from

  28    previously amended pleadings.


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  1             Counsel shall electronically file a “Notice of Lodging” attaching the proposed

  2     amended pleading as a document separate from the motion, and shall attach a

  3     “redlined” version of the proposed amended pleading identifying all additions and

  4     deletions of material as an appendix to the moving papers.

  5                  c.   Motions for Class Certification

  6             Notwithstanding Local Rule 23-3, the deadline for the filing of a motion

  7     for class certification will be set pursuant to the parties’ stipulation during the

  8     Scheduling Conference or in a Scheduling Order. No request for relief from Local

  9     Rule 23-3 is necessary.

  10                 d.   Summary Judgment Motions

  11            No party may file more than one motion pursuant to Fed. R. Civ. P. 56

  12    regardless of whether such motion is denominated a motion for summary judgment

  13    or summary adjudication, without leave of court. The parties shall not attempt to

  14    evade the page limitations for briefs by filing multiple motions. If a party believes

  15    this is one of the rare instances in which good cause exists for more than one

  16    summary judgment motion or to increase page limits, the party shall seek leave

  17    by noticed motion setting forth a detailed showing of good cause. Pursuant to

  18    Fed. R. Civ. P. 56(f), when appropriate, based on undisputed facts and controlling

  19    principles of law, the court may sua sponte enter summary judgment in favor of

  20    the non-moving party.

  21            Also, the court will not entertain cross-motions that seek to adjudicate the

  22    same legal issues. If parties wish to cross-move for summary judgment, their

  23    counsel shall meet and confer to determine which party will move and which will

  24    oppose the one motion for summary judgment.

  25            Parties need not wait until the motion cutoff date to bring motions for

  26    summary judgment or partial summary judgment. The hearing on any such motion

  27    shall be set for a date in advance of the Final Pretrial Conference. This court

  28    requires an extended briefing schedule for motions under Rule 56, as follows:


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  1     •     Any Rule 56 Motion must be filed at least thirty-five (35) days before the

  2     noticed hearing date.

  3     •     Any Opposition must be filed twenty-one (21) days before the noticed hearing

  4     date (fourteen (14) days after the Motion is filed).

  5     •     Any Reply must be filed fourteen (14) days before the noticed hearing date

  6     (seven (7) days after the opposition is filed).

  7             The above briefing schedule is the default. The parties may stipulate to a

  8     modified schedule that is reasonable for all parties. Any briefing schedule must

  9     provide the court at least two weeks between the reply deadline and the hearing

  10    date.

  11            The parties should prepare papers in a fashion that will assist the court in

  12    processing and analyzing the facts, including through the use of tables of

  13    contents, headings, indices, bookmarks in electronic documents, and pinpoint

  14    citations. The parties shall comply with Local Rules 56-1 through 56-2, taking

  15    into account the court’s additional requirements described below.

  16                      i.   Statements of Uncontroverted Facts and Genuine Disputes

  17            The Separate Statement of Uncontroverted Facts required under Local Rule

  18    56-1 shall be prepared in a two-column table, as shown below. The left-hand

  19    column sets forth the allegedly undisputed fact. The right-hand column sets forth

  20    the evidence that supports the factual statement. The factual statements should be

  21    set forth in sequentially numbered paragraphs. Each paragraph should contain a

  22    narrowly focused statement of fact. Each numbered paragraph should address a

  23    single subject as concisely as possible. The “Conclusions of Law” portion of the

  24    Statement should be inserted after the Statement of Uncontroverted Facts.

  25    ///

  26    ///

  27    ///

  28    ///


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   1    Plaintiff’s Claim for ____ is Barred by the Applicable Statute of Limitations.

   2
         Undisputed Fact                              Evidence
   3
         1. Mike and Jane signed a contract for       Smith Decl. (Dkt. No. 61-2) ¶ 5, Ex. 6.
   4     the sale and purchase of property.
   5     2. Jane mailed the contract in May
                                                      Smith Decl. ¶ 8, Ex. 21.
         2017.
   6
                The opposing party’s Statement of Genuine Disputes of Material Fact must
   7
        be in two columns and track the movant’s separate statement exactly as prepared.
   8
        The left-hand column must restate the allegedly undisputed fact and the right-hand
   9
        column must state either that it is undisputed or disputed. The opposing party may
   10
        dispute all or only a portion of the statement, but if disputing only a portion, it
   11
        must clearly indicate what part is being disputed, followed by a brief citation to
   12
        the opposing party’s evidence controverting the fact. To demonstrate that a fact is
   13
        disputed, the opposing party must briefly state why it disputes the moving party’s
   14
        asserted fact, cite to the relevant exhibit or other evidence, and describe the
   15
        reason(s) the exhibit or evidence refutes the asserted fact. No legal argument
   16
        should be set forth in this document.
   17
   18
         Undisputed Fact and Evidence                 Disputed/Undisputed and Evidence
   19
         1. Mike and Jane signed a contract for       Disputed. Jane testified that the
   20                                                 contract was for a lease, not a
         the sale and purchase of property.           purchase.
   21    Smith Decl. (Dkt. No. 61-2) ¶ 5, Ex. 6.      Jane Depo (Smith Decl. Ex. 4) at
                                                      29:4-16.
   22
   23    2. Jane mailed the contract in May
         2017.                                        Disputed as to date. Jane testified she
                                                      mailed the contract in June 2017.
   24    Smith Decl. ¶ 8, Ex. 21.                     Jane Depo. at 3:4-10.
   25
   26           The opposing party may submit additional material facts that bear on or relate

   27   to the issues raised by the movant, which shall follow the format described above

   28   for the moving party’s separate statement. These additional facts shall continue


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   1    in sequentially numbered paragraphs and shall set forth in the right-hand colum

   2    the evidence that supports that statement.

   3            With its Reply, the moving party shall file a Response to the Statement of

   4    Genuine Disputes of Material Fact and Additional Material Facts. For each fact,

   5    the Response shall restate the allegedly undisputed fact and state whether the fact

   6    is disputed or undisputed by the opposing party. If the fact is undisputed, no

   7    further response is required.

   8            If the fact is disputed, the Response shall restate the opposing party’s evidence

   9    and reason for disputing the asserted fact. The moving party may provide a

   10   response to the opposing party’s reason for dispute, including any reason why

   11   the evidence cited by the opposing party does not create a genuine dispute and/or

   12   any additional evidence relevant to the asserted fact. This response may either be

   13   presented in three columns, with the response appearing in the right-hand column,

   14   or in two columns, with a response provided below each fact.

   15           The Response may also include any response to additional material facts

   16   asserted by the non-moving party, and this response shall follow the format

   17   described above for the Statement of Genuine Disputes of Material Fact. The

   18   response to these additional facts shall continue in sequentially numbered

   19   paragraphs, and shall not restart the numbering.

   20           All facts asserted by either party, whether disputed or undisputed, and all

   21   supporting evidence cited, shall be included in the Response. Do not repeat

   22   descriptions of and citations to the evidence. If you have already described and

   23   cited the evidence once, simply refer to the earlier citation succinctly (e.g., See

   24   supra, Fact # 1).

   25                     ii.   Supporting Evidence

   26           No party shall submit evidence other than the specific items of evidence or

   27   testimony necessary to support or controvert a proposed statement of undisputed

   28   fact. For example, entire deposition transcripts, entire sets of interrogatory


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   1    responses, and documents that do not specifically support or controvert material

   2    in the separate statement shall not be submitted in opposition to a motion for

   3    summary judgment.

   4            Evidence submitted in support of or in opposition to a motion should be

   5    submitted either by way of stipulation or as exhibits to declarations sufficient to

   6    authenticate the proffered evidence, and should not be attached to the memorandum

   7    of points and authorities. Documentary evidence for which there is no stipulation

   8    regarding foundation must be accompanied by the testimony, either by declaration

   9    or properly authenticated deposition transcript, of a witness who can establish

   10   authenticity.

   11                     iii.   Objections to Evidence

   12           If a party disputes a fact based in whole or in part on an evidentiary objection,

   13   the ground for the objection should be stated succinctly in a separate statement of

   14   evidentiary objections in a two-column format. The left column should identify

   15   the items objected to (including page and line number if applicable) and the right

   16   column should set forth a concise objection (e.g., hearsay, lack of foundation, etc.)

   17   with a citation to the Federal Rules of Evidence or, where applicable, a case

   18   citation. A proposed order shall be filed and attached to the evidentiary objections

   19   as a separate document consistent with Local Rule 52-4.1 and either uploaded

   20   through the CM/ECF System or emailed directly to the court’s chambers email

   21   address at fla_chambers@cacd.uscourts.gov.

   22                e.   Motions for Attorney’s Fees

   23           Motions for attorney’s fees shall be e-filed and set for hearing according to

   24   Local Rule 6-1 and this Order. Any motion or request for attorney’s fees shall

   25   attach two summaries, in table form, of the hours worked by and billing rate of

   26   each attorney with title (i.e., partner, counsel, associate, etc.).

   27           The first table shall include a summary of the hours worked by each attorney,

   28   organized by task (i.e., discovery, motion to dismiss, motion for summary


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   1    judgment). If the hourly rate charged by any individual attorney changed while

   2    the action was ongoing, the party shall provide separate calculations for the total

   3    number of hours the attorney spent in connection with each task at each hourly rate.

   4            The second table shall include a summary of the hours worked by each

   5    attorney, organized by attorney. This table shall list all the tasks on which the

   6    attorney worked, the hours worked on each task, and the hourly rate of each

   7    attorney.

   8            All tables shall be attached to the motion and electronically filed. The

   9    courtesy copy of the table shall be emailed to the court’s chambers email address

   10   at fla_chambers@cacd.uscourts.gov, and shall be prepared in Microsoft Excel

   11   and have all restrictions removed so the spreadsheet can be edited.

   12           8.   PROPOSED ORDERS

   13           Each party filing or opposing a motion or seeking the determination of any

   14   matter shall serve and electronically lodge a proposed order setting forth the relief

   15   or action sought and a brief statement of the rationale for the decision with

   16   appropriate citations. In addition, a copy of the proposed order in Word format

   17   shall be either uploaded through the CM/ECF System or emailed directly to the

   18   court’s chambers email address at fla_chambers@cacd.uscourts.gov on the day

   19   the document is e-filed.

   20           A template for proposed orders is available on Judge Aenlle-Rocha's webpage.

   21   The parties must use this template. Failure to submit a proposed order in Word

   22   format, may result in the court striking the motion, application, or stipulation

   23   without consideration of the request on its merits.

   24           9.   CHAMBERS COURTESY COPIES

   25           The court does not require chambers copies of any motion papers or exhibits,

   26   and discourages the parties from sending courtesy copies to chambers. The court

   27   refers the parties to the Scheduling Order for details regarding mandatory chambers

   28   copies for pre-trial documents and trial exhibits. This order is not intended to affect


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   1    the parties' ability to file and lodge documents and materials that are exempt from

   2    electronic filing under Local Rule 5-4.2.

   3            10.   PROPOSED PROTECTIVE ORDERS

   4            Proposed protective orders pertaining to discovery must be submitted to the

   5    assigned Magistrate Judge. Protective orders must not purport to allow any matters

   6    to be filed under seal in connection with dispositive motions (including a class

   7    certification motion) or trial without a court order. The existence of a protective

   8    order alone does not authorize the filing of pleadings or other documents under

   9    seal in whole or in part.

   10           11.   FILINGS UNDER SEAL

   11           Local Rule 79-5 governs applications to file documents under seal. Local

   12   Rule 79-5.2.2 explains how to apply to file under seal and how to proceed if leave

   13   is granted. Parties must comply with all provisions of Local Rule 79-5.

   14           There is a strong presumption of access in civil actions. Foltz v. State Farm

   15   Mut. Auto. Ins. Co., 331 F.3d 1122, 1135 (9th Cir. 2003). For each document or

   16   other type of information a party seeks to file under seal, the party must identify

   17   and discuss the factual and/or legal justification that establishes “good cause” or

   18   “compelling reasons” for the information to be protected. Kamakana v. City and

   19   Cnty. of Honolulu, 447 F.3d 1172, 1179-80 (9th Cir. 2006).

   20           Documents that are not confidential or privileged in their entirety should not

   21   be filed under seal if the confidential portions can be redacted and filed separately

   22   with a reasonable amount of effort. The parties should file a complete version of

   23   the documents under seal and a redacted version for public viewing, omitting only

   24   the portions that the court has authorized to be filed under seal.

   25           Sealing must be justified for each individual item: blanket claims of

   26   confidentiality will result in the application to seal being denied. Counsel is

   27   strongly encouraged to consider carefully whether sealing or redaction is absolutely

   28   required for a given piece of evidence or argument. An application to seal that


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   1    includes meritless requests to seal or redact documents will be denied. The parties

   2    also must meet and confer before filing an application to seal.

   3            12.   APPEARANCE AT HEARINGS

   4            Pursuant to General Order 21-07 regarding the Coronavirus Public

   5    Emergency, as of April 19, 2021, the Central District of California has transitioned

   6    to Phase 3 of the Reopening Plan and in-court hearings are permitted at the

   7    discretion of the court. Accordingly, the court requires in-person attendance for all

   8    hearings and trials, unless otherwise instructed by the court.

   9            The court may permit appearances by telephone or video conference for status

   10   conferences upon a showing that a personal appearance will cause undue hardship.

   11   If you wish to appear by telephone or video conference, you must:

   12           1. email the Courtroom Deputy Clerk and copy opposing counsel at least

   13              three (3) court days in advance of the scheduled appearance and provide a

   14              detailed statement of undue hardship;

   15           2. use a landline to call into the bridge line provided by the Courtroom

   16              Deputy Clerk or use a hardline internet connection to connect to the Zoom

   17              link for the court; and

   18           3. be available and ready to call in for at least fifteen (15) minutes before the

   19              time of the scheduled hearing.

   20           13.   EX PARTE APPLICATIONS

   21           The court considers ex parte applications on the papers and does not usually

   22   set these matters for hearing. If a hearing is necessary, the parties will be notified.

   23   Ex parte applications are solely for extraordinary relief and should be used with

   24   discretion. Sanctions may be imposed for misuse of ex parte applications. See

   25   Mission Power Eng'g Co. v. Cont'l Cas. Co., 883 F. Supp. 488

   26   (C.D. Cal. 1995).

   27           Ex parte applications that fail to conform to Local Rule 7-19 and 7-19.1,

   28   including a statement of opposing counsel’s position, will not be considered except


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   1    upon a specific showing of good cause. The moving party shall serve the opposing

   2    party electronically, if possible. A party is considered served once the ex parte

   3    application has been e-filed. All parties registered for electronic service are sent

   4    a notification of ECF filing each time a document is e-filed with a link to the

   5    document for one free view. Parties enrolled for service by facsimile or mail must

   6    be served the ex parte application by facsimile or personal service.

   7            Following service of the ex parte application by electronic, facsimile, or

   8    personal service, the moving party shall notify the opposing party that any

   9    opposition must be filed no later than twenty-four (24) hours following service.

   10   Counsel will be notified by the clerk of the court’s ruling. If counsel does not

   11   intend to oppose an ex parte application, counsel must inform the Courtroom

   12   Deputy Clerk at (213) 894-5686.

   13           14.   INJUNCTIONS AND RESTRAINING ORDERS

   14           Parties seeking preliminary or emergency injunctive relief must comply with

   15   Fed. R. Civ. P. 65 and Local Rule 65. Applications for a Temporary Restraining

   16   Order (“TRO”) are governed by Local Rule 7-19, which applies to ex parte

   17   applications. Thus, oppositions to Applications for a TRO must be filed within

   18   twenty-four (24) hours following service of the Application. The court will not

   19   rule on any Application for a TRO for at least twenty-four (24) hours after the

   20   party subject to the requested order has been served, unless notice is excused as

   21   per Fed. R. Civ. P. 65(b) or the interests of justice so require.

   22           15.   CONTINUANCES

   23           The court has a strong interest in keeping scheduled dates certain. Changes

   24   in dates are disfavored. Trial dates set by the court are firm and will rarely be

   25   changed. Therefore, a stipulation to continue or extend the date of any matter

   26   before this court must be supported by a sufficient factual basis that demonstrates

   27   good cause why the change in the date is essential. Without such compelling

   28   factual support and a showing of due diligence, stipulations continuing dates will


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   1    not be approved. Counsel requesting a continuance or extension of time must file

   2    electronically a stipulation and lodge a proposed order including a detailed

   3    declaration of the grounds for the requested continuance or extension of time.

   4    Failure to comply with the Local Rules and this Order will result in rejection of

   5    the request without further notice to the parties. Proposed stipulations extending

   6    scheduling dates do not become effective unless and until this court so orders.

   7    Counsel shall avoid submitting requests for continuance or extension of time less

   8    than five (5) business days prior to the expiration of the scheduled date. A request

   9    to continue or extend dates or deadlines that have already expired constitutes a

   10   presumptive lack of due diligence.

   11           16.   COMMUNICATIONS WITH CHAMBERS

   12           Counsel must not attempt to contact the court or chambers staff by email

   13   telephone, or ex parte means. For appropriate matters only, counsel may contact

   14   the Courtroom Deputy Clerk via chambers email address at

   15   twyla_freeman@cacd.uscourts.gov, or by telephone at (213) 894-5686. Counsel

   16   must not contact the Courtroom Deputy Clerk regarding the status of any matter

   17   before the court. Counsel must include on all papers his or her email address,

   18   telephone number, and facsimile number to facilitate communication with the

   19   Courtroom Deputy Clerk.

   20           17.   ORDER SETTING SCHEDULING CONFERENCE

   21           Pursuant to Fed. R. Civ. P.16(b), the court will issue an order setting a

   22   scheduling conference as required by Fed. R. Civ. P. 26 and the Local Rules of

   23   this court. Strict compliance with Fed. R. Civ. P. 16 and 26 is required.

   24           18.   SETTLEMENT CONFERENCE / ALTERNATIVE DISPUTE

   25                 RESOLUTION (“ADR”)

   26           As stated in Local Rule 16-15, the parties in every action must participate in

   27   a Settlement Conference or Alternative Dispute Resolution (“ADR”) procedure.

   28   The court will not hold a final pretrial conference or convene a trial unless and


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   1    until all parties, including the principals of all corporate parties, have completed

   2    ADR.

   3            This court participates in the court-directed ADR Program whereby the court

   4    refers the parties to the Magistrate Judge, the court Mediation Panel, or private

   5    mediation. See General Order 11-10, §5.1. If a Notice to Parties of Court-Directed

   6    ADR Program (ADR-08) has been filed in this action, counsel must furnish and

   7    discuss it with their clients in preparation for the Fed. R. Civ. P. 26(f) conference.

   8    In their Joint Rule 26(f) Report, counsel should state their preferred ADR

   9    procedure. The court will refer the action to a procedure at the initial scheduling

   10   conference. More information about the court’s ADR Program, the Mediation

   11   Panel, and mediator profiles is available on the court’s website at

   12   https://www.cacd.uscourts.gov/attorneys/adr.

   13
           IT IS SO ORDERED.
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   15 Dated: June 21, 2022
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